           Case 2:10-cr-00148-RSL         Document 17        Filed 05/13/10     Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 10-209
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   JERRY H. CHRISTY,                    )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Transport Stolen Property in Interstate Commerce

15 Date of Detention Hearing:     May 13, 2010

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)    Defendant has a lengthy criminal history of almost thirty years, including

22 numerous escape charges and/or convictions, and multiple residential burglary charges. He is




     DETENTION ORDER                                                                       PAGE 1
           Case 2:10-cr-00148-RSL         Document 17        Filed 05/13/10     Page 2 of 3




01 associated with four Social Security numbers and at least nine alias names. Despite thirty years

02 of involvement with the state criminal justice system, the Washington State Department of

03 Corrections reports that he has never been actively supervised by their department due to being

04 either in custody, on abscond status, or because supervision was not imposed as a part of the

05 sentence.

06          (2)    Defendant poses a risk of nonappearance because he is unemployed with no

07 visible means of support, is alleged to be a user of controlled substances, may have untreated or

08 undiagnosed mental health concerns, is associated with multiple identifiers, and has previous

09 convictions for escape and violations of supervision. He poses a risk of danger based on criminal

10 history.

11          (3)    There does not appear to be any condition or combination of conditions that will

12 reasonably assure the defendant’s appearance at future Court hearings while addressing the

13 danger to other persons or the community.

14 It is therefore ORDERED:

15          (1)    Defendant shall be detained pending trial and committed to the custody of the

16                 Attorney General for confinement in a correction facility separate, to the extent

17                 practicable, from persons awaiting or serving sentences or being held in custody

18                 pending appeal;

19          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

20                 counsel;

21          (3)    On order of a court of the United States or on request of an attorney for the

22                 Government, the person in charge of the corrections facility in which defendant




     DETENTION ORDER                                                                       PAGE 2
         Case 2:10-cr-00148-RSL       Document 17        Filed 05/13/10      Page 3 of 3




01             is confined shall deliver the defendant to a United States Marshal for the purpose

02             of an appearance in connection with a court proceeding; and

03       (4)   The clerk shall direct copies of this Order to counsel for the United States, to

04             counsel for the defendant, to the United States Marshal, and to the United States

05             Pretrial Services Officer.

06       DATED this 13th day of May, 2010.



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08                                           Mary Alice Theiler
                                             United States Magistrate Judge
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     DETENTION ORDER                                                                    PAGE 3
